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 4
     Attorney for Defendant
 5   DIEP VU
 6
 7                               IN THE UNITED STATES DISTRICT COURT
 8                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,
11                                                     2:10-CR-00284-MCE
                    Plaintiff,
12
     v.
13                                                     STIPULATION AND ORDER TO
                                                       CONTINUE STATUS CONFERENCE
14   DIEP VU, et al.,

15                  Defendants.

16
17
18                                            STIPULATION
19         Plaintiff, United States of America, by and through its counsel, Assistant United States
20 Attorney Todd Leras, defendant Nhung Vu, by and through his counsel, Matthew Bockmon,
21 defendant Hung Pham, by and through her counsel, Dina Santos, defendant Cuong Long, by and
22 through his counsel, Mark Reichel, defendant Thuy Tran, by and through her counsel, David Fischer,
23 defendant Chien Le, by and through his counsel, Michael Chastaine, defendant Tuan Chu, by and
24 through his counsel, Hayes H. Gable, III, and defendant, Diep Vu, by and through his counsel, Erin J.
25 Radekin, agree and stipulate to vacate the date set for status conference, December 1, 2011 at 9:00
26 a.m., and to continue the status conference to January 5, 2012 at 9:00 a.m. in the courtroom of the
27 Honorable Morrison C. England, Jr.
28 ///
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 1         The reason for this request is that all above-named defense counsel need additional time for
 2 defense preparation and plea negotiations. The Court is advised that Mr. Leras concurs with this
 3 request and that he, and all defense counsel named above, have authorized Ms. Radekin to sign this
 4 stipulation on their behalf.
 5         The parties further agree and stipulate that the time period from the filing of this stipulation
 6 until January 5, 2012 should be excluded in computing time for commencement of trial under the
 7 Speedy Trial Act, based upon the interest of justice under 18 U.S.C. § 3161(h)(7)(B)(iv) and Local
 8 Code T4, to allow continuity of counsel and to allow reasonable time necessary for effective defense
 9 preparation. It is further agreed and stipulated that the ends of justice served in granting the request
10 outweigh the best interests of the public and the defendant in a speedy trial.
11         Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
12 IT IS SO STIPULATED
13
     Dated: November 30, 2011                              BENJAMIN WAGNER
14                                                         United States Attorney
15                                                   By:          /s/ Todd Leras
                                                           TODD LERAS
16                                                         Assistant United States Attorney
17
     Dated: November 30, 2011                                    /s/ Matthew Bockmon
18                                                         MATTHEW BOCKMON
                                                           Attorney for Defendant
19                                                         NHUNG VU
20
     Dated: November 30, 2011                                    /s/ Dina Santos
21                                                         DINA SANTOS
                                                           Attorney for Defendant
22                                                         HUNG PHAM
23
     Dated: November 30, 2011                                    /s/ Mark Reichel
24                                                         MARK REICHEL
                                                           Attorney for Defendant
25                                                         CUONG LONG
26
     Dated: November 30, 2011                                    /s/ David Fischer
27                                                         DAVID FISCHER
                                                           Attorney for Defendant
28                                                         THUY TRAN


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 1 Dated: November 30, 2011                                       /s/ Michael Chastaine
                                                            MICHAEL CHASTAINE
 2                                                          Attorney for Defendant
                                                            CHIEN LE
 3
 4 Dated: November 30, 2011                                       /s/ Hayes H. Gable, III
                                                            HAYES H. GABLE, III
 5                                                          Attorney for Defendant
                                                            TUAN CHU
 6
 7 Dated: November 30, 2011                                       /s/ Erin J. Radekin
                                                            ERIN J. RADEKIN
 8                                                          Attorney for Defendant
                                                            DIEP VU
 9
10
                                                      ORDER
11
            For the reasons set forth in the accompanying stipulation and declaration of counsel, the status
12
     conference of December 1, 2011 at 9:00 a.m. is VACATED and the above-captioned matter is set for
13
     status conference on January 5, 2012 at 9:00 a.m. The court finds excludable time in this matter
14
     through January 5, 2012 under 18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code T4, to allow continuity
15
     of counsel and to allow reasonable time necessary for effective defense preparation. For the reasons
16
     stipulated by the parties, the Court finds that the interest of justice served by granting the request
17
     outweigh the best interests of the public and the defendant in a speedy trial. 18 U.S.C. 3161(h)(7)(A),
18
     (h)(7)(B)(iv).
19
            IT IS SO ORDERED.
20
21    Dated: December 6, 2011

22                                                     ________________________________
                                                       MORRISON C. ENGLAND, JR.
23                                                     UNITED STATES DISTRICT JUDGE
24
25
26
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